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PRETRIAL SERVICES AGENCY FOR THE DISTRICT OF COLUMBIA

US District Court Team 1

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Release Of Document

I, Lisa A. Homer, acknowledge receipt of the following documents: Passport from Christine . Schuck
on 11/10/2022.

   

 

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The above referenced documents(s), surrendered on 1/11/2022 is/are herewith returned upon
satisfactory evidence that Case Number #: CR22-000238 US/DC v. N/A, reached a final disposition
of on 8/9/2022, according to . Return has been authorized by the Honorable .

CC: Defendant
PSA Files

CHRISTINE . SCHUCK ( X/ Gs 4 fla—
